                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                     WESTERN DIVISION
                                Civil Action No.: 5:19-cv-250-FL

                                                   )
EPIC GAMES, INC.,                                  )
                                                   )
                Plaintiff,                         )
                                                   )
                                                                   DECLARATION OF
v.                                                 )
                                                                  CATHERINE LAWSON
                                                   )
C.B.,                                              )
                                                   )
                Defendant.                         )
                                                   )

I, Catherine Lawson, hereby declare and state as follows:

        1.      I am over 18 years of age, suffer from no known disability, and have personal

knowledge of the facts set forth herein. All the statements in this declaration are true and correct.

        2.      I am currently, and for all times relevant to this matter have been, an attorney at

Parker Poe, Adams & Bernstein LLP and counsel for the Plaintiff, Epic Games, Inc. (“Epic”).

                                         Accessing Fortnite

        3.      Would-be users who intend to play Fortnite on their personal computers must first

download and install Fortnite’s software.

        4.      Downloading Fortnite requires going to the Epic Games Store (available at:

<epicgames.com/store>) and clicking the Fortnite icon which reads: “Fortnite Battle Royale Epic

Games Free.” A true and correct screen-print of the Epic Games Store homepage is attached to

this declaration as Exhibit 1.

        5.      After clicking the Fortnite icon, would-be are taken to a Fortnite page, from

which Fortnite Battle Royale may be downloaded by clicking on a button which reads “GET.”

The Fortnite Battle Royale webpage may be accessed at <https://www.epicgames.com/store/en-

US/product/fortnite/home?purchaseIntentId=09176f4ff7564bbbb499bbe20bd6348f>. A true and
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correct screen-print of the Fortnite Battle Royale page is attached to this declaration as Exhibit

2.

        6.      After clicking the “GET” button, a would-be must sign in to his or her Epic

Games account before he or she can download Fortnite.

        7.      Creating an account with Epic is a prerequisite to playing Fortnite.

        8.      Creating an Epic Games account requires that would-be users provide their first

name, last name, and email address, create a display name and password, and then click on a

button which affirms: “I have read and agree to the terms of service.” On the account creation

page, the words “terms of service” appear in bright blue font set against a white background and

hyperlink to Epic’s Terms of Service. Users must then click “I’m not a robot” and click the

“Create Account” button to complete the account creation process. Epic’s “Create Account”

webpage                     can                  be                   accessed                 at:

<https://accounts.epicgames.com/login?lang=en_US&redirectUrl=https%3A%2F%2Fwww.epic

games.com%2Fstore%2Fen-

US%2F&client_id=875a3b57d3a640a6b7f9b4e883463ab4&noHostRedirect=true>. A true and

correct screen-print of Epic’s Create Account webpage is attached to this declaration as Exhibit

3. Epic’s TOS is also accessible by a link at the bottom of the Epic Games Store webpage

along with legal notices and store policies.

        9.      After signing in to his or her Epic Games account, a window with the scrollable

Fortnite® End User License Agreement (“EULA”) opens on the user’s screen. The would-be

user may then read the EULA and either (a) check a box that reads “I have read and agree with

the End User License Agreement,” and click the “Accept” button, (which is not available unless

the would-be user first indicates he or she has read the EULA,) or (b) click the “Dismiss” button.

(Id.) Would-be users who click “Dismiss,” or who close the page without clicking “Accept,”

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cannot download or install Fortnite. Those who acknowledge that they “have read and agree with

the End User License Agreement may download, install, and play Fortnite. The EULA is also

available on <fortnite.com>.

                                         Defendant’s Conduct

        10.        Defendant in the above-caption action (“Defendant”) operates at least two

YouTube channels under the name “CBV.” On one of these channels, he posted at least six

videos of himself playing and cheating at Fortnite. Together, these videos have been viewed a

total of over 550,000 times. True and correct screen-prints of Defendant’s postings of these

videos showing the number of views each video had are attached collectively to this declaration

as Exhibit 4.

        11.        On June 21, 2019, Defendant posted a video to his CBV channel discussing the

contents of the complaint filed by Epic in the above-captioned action (the “Complaint”). In this

video, Defendant claims Epic is suing him “just because I made Fortnite cheats . . . just because I

allegedly made Fortnite cheats.” Defendant went on to say “f*ck Epic Games . . . at least they

can’t come after my channel anymore, I’m never going to make a Fortnite video . . . they can just

f*ck their brand on their own.” Defendant then explained why he creates cheat software, saying

“it’s really hard to make it as a content creator in this community . . . just being a good player

isn’t good enough anymore, so you have to do something that stands out, and no one cheats in

this game, so it was a great opportunity for me to build a brand for myself.” This video can be

accessed      at   <https://www.youtube.com/watch?v=tRYKh19QPdc>.         A    true   and   correct

downloaded copy of this video is being submitted to the Court with this declaration as Exhibit 5.

        12.        On June 22, 2019, Defendant posted another video. This video includes images of

the complaint in the above-captioned action. In this video, Defendant tells his audience that he

“already has a pretty good attorney” and flips through the pages of the Complaint to the tune of

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Jay-Z’s “Hard Knock Life.” This video can be accessed at <https://www.youtube.com/watch?v=-

zEEVUMZpOc>. A true and correct downloaded copy of this video is being submitted to the

Court with this declaration as Exhibit 6.

        13.      The posts for both of these videos contain links to Defendant’s business, “Nexus

Cheats,” from which Defendant’s cheats could be purchased. True and correct screen-prints of

the posted videos showing the links are attached to this declaration as Exhibit 7.

        14.      On or around July 9, 2019, Defendant created the YouTube channel

“NotDiscord.” A true and correct screen-print of this channel is attached to this declaration as

Exhibit 8.

        15.      On or around July 15, 2019, Defendant published a new video titled “Fortnite

AIMBOT/WALLHACKS/**LIVE**(nexuscheats).” A true and correct downloaded copy of this

video is being submitted to the Court with this declaration as Exhibit 9.

        16.      In this video, Defendant said it was his “first time streaming since I’ve been

sued.” Defendant live-streamed himself logging into Fortnite and demonstrating his hacks as he

played the game, and answered questions posted by viewers in real time. When asked about the

lawsuit, Defendant assured his viewers (and customers) that “we have a very, very good attorney

and I’m not going to incriminate myself, but Epic made a very big mistake in their lawsuit and I

have no worries.” He also said that “we had to change our servers when we got sued.”

        17.      In this video, Defendant also responded to questions about his cheat software and

provided advice and technical support for customers who were struggling with how to use it.

Defendant discussed being banned by Epic and repeatedly assured his audience that his cheats

still worked on Fortnite, explained that “the only cheat that we inject with Discord overlay is

Fortnite, and that’s just because we’re very sophisticated. Because Epic is on our ass 24/7,” and

demonstrated that his cheats did work, saying “you just watched me spoof live in front of you.”

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For issues too complex to explain while simultaneously playing and cheating at Fortnite,

Defendant told his viewers to “submit a ticket” and he would get back to them, or to “make a

ticket to my staff, Tim will tell you what to do.”

        18.      Defendant acknowledged Epic’s efforts to prevent him and others from using the

hacks he sells to cheat at Fortnite, commenting that “we get detected like once a week and we

update overnight.”

        19.      In his July 15, 2019 video, Defendant admits that he “very, very rarely” plays

Fortnite “legit.”

        20.      On August 1, 2019, Defendant registered a new website, <nexuscheats.us>. A

true and correct screen-print of the WHOIS registration page is attached to this Declaration as

Exhibit 10.

        21.      On or around August 13, 2019, Defendant posted on his CBV YouTube channel’s

community page: “https://nexuscheats.us/shop/ new shop is up. status video coming soon <3.”

Defendant’s           community           page          can          be            accessed   at:

<https://www.youtube.com/channel/UCYhPTtfyt2VQOCsvqe5y2MA/community>. A true and

correct screen-print of this post is attached to this Declaration as Exhibit 11.

        22.      As of at least as recently as August 16, 2019, Defendant’s website featured

Fortnite cheat software for sale and had a status page which shows whether those products are

categorized as “Undetected” (safe to use), “Testing” (might be detected or causing quick bans for

some people, use at your own risk), or “Down” (outdated/detected or updating). True and correct

screen-prints of Defendant’s <nexuscheats.us> website are attached to this Declaration as

Exhibit 12.




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        I declare under penalty of pe1jury that the foregoing is true and correct.

        Executed on this 26 day of August, 2019.




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                                                          /~y£_.
                                                           erine R.L. Lawson




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                               CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing DECLARATION OF CATHERINE

LAWSON was electronically filed on this day with the Clerk of Court using the CM/ECF

system and a true and accurate copy was sent by U.S. Mail addressed to the following:

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       This 26th day of August, 2019.

                                            PARKER POE ADAMS & BERNSTEIN LLP


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